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                                                                                 Pg 1 of 24
                                                        United States Bankruptcy Court
                                                                                                                                                                                        Voluntary Petition
                                                          Southern District of New York
       Name of Debtor (if individual, enter Last, First, Middle):                                                            Name of Joint Debtor (Spouse) (Last, First, Middle):
       GENERAL MOTORS CORPORATION                                                                                            N/A
       All Other Names used by the Debtor in the last 8 years                                                                All Other Names used by the Joint Debtor in the last 8 years
       (include married, maiden, and trade names):                                                                           (include married, maiden, and trade names):
       See Schedule 1 Attached                                                                                               N/A
       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if                                 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if more
       more than one, state all):                                                                                            than one, state all):
       XX-XXXXXXX                                                                                                            N/A
       Street Address of Debtor (No. and Street, City, and State):                                                           Street Address of Joint Debtor (No. and Street, City, and State):
        300 Renaissance Center                                                                                               N/A

                                                                                     ZIP CODE
       Detroit, Michigan                                                                                                                                                                                  ZIP CODE
                                                                                     48265-3000

       County of Residence or of the Principal Place of Business:               Wayne County                                 County of Residence or of the Principal Place of Business:
                                                                                                                             N/A
       Mailing Address of Debtor (if different from street address):                                                         Mailing Address of Joint Debtor (if different from street address):
                                                                                                                             N/A
                                                                                     ZIP CODE                                                                                                             ZIP CODE

       Location of Principal Assets of Business Debtor (if different from street address above):

       767 Fifth Avenue, New York, New York                                                                                                                                                               ZIP CODE 10153

                          Type of Debtor                                             Nature of Business                                                  Chapter of Bankruptcy Code Under Which
                         (Form of Organization)                                         (Check one box.)                                                    the Petition is Filed (Check one box)
                          (Check one box.)                                 Health Care Business
              Individual (includes Joint Debtors)                                                                                     Chapter 7                  Chapter 15 Petition for Recognition of a Foreign
                                                                           Single Asset Real Estate as defined in
              See Exhibit D on page 2 of this form.                                                                                   Chapter 9                  Main Proceeding
                                                                           11 U.S.C. § 101 (51B)
              Corporation (includes LLC and LLP)                                                                                      Chapter 11                 Chapter 15 Petition for Recognition of a Foreign
                                                                           Railroad                                                   Chapter 12                 Nonmain Proceeding
              Partnership
                                                                           Stockbroker                                                Chapter 13
              Other (If debtor is not one of the above                                                                            ______________________________________________________________________
              entities, check this box and state type of                   Commodity Broker
              entity below.)
                                                                                                                                                             Nature of Debts (Check one box)
                                                                           Clearing Bank
                                                                           Other                                                        Debts are primarily consumer                             Debts are primarily business
                                                                                                                                        debts, defined in 11 U.S.C. §                            debts.
                                                                        Automotive Manufacturing_                                       101(8) as “incurred by an
                                                                                      Tax-Exempt Entity                                 individual primarily for a personal,
                                                                                    (Check box, if applicable.)                         family, or household purpose.”
                                                                           Debtor is a tax-exempt organization                                                        Chapter 11 Debtors
                                                                           under Title 26 of the United States                    Check one box:
                                                                           Code (the Internal Revenue Code).
                                                                                                                                        Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                              Filing Fee (Check one box)                                                                Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
              Full Filing Fee attached
              Filing Fee to be paid in installments (applicable to individuals only)                                              Check if:
              Must attach signed application for the court’s consideration certifying that the debtor is unable to pay fee
              except in installments. Rule 1006(b). See Official Form 3A.
                                                                                                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                                        insiders or affiliates) are less than $2,190,000.
              Filing Fee waiver requested (applicable to chapter 7 individuals only). Must attach signed application for
              the court’s consideration. See Official Form 3B.                                                                    -------------------------------
                                                                                                                                  Check all applicable boxes:
                                                                                                                                        A plan is being filed with this petition.
                                                                                                                                        Acceptances of the plan were solicited prepetition from one or more classes of
                                                                                                                                        creditors, in accordance with 11 U.S.C. § 1126(B).
       Statistical/Administrative Information                                                                                                                                                THIS SPACE IS FOR COURT USE
                                                                                                                                                                                                        ONLY
                Debtor estimates that funds will be available for distribution to unsecured creditors.
                Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                distribution to unsecured creditors.
       Estimated Number of Creditors (on a Consolidated Basis)


       1-49            50-99             100-199          200-999          1,000-              5,001-           10,001-              25,001           50,001-            Over
                                                                           5,000               10,000           25,000               50,000           100,000            100,000
       Estimated Assets (on a Consolidated Basis)


       $0 to           $50,001 to        $100,001 to      $500,001 to      $1,000,001        $10,000,001        $50,000,001          $100,000,001     $500,000,001       More than
       $50,000         $100,000          $500,000         $1 million       to $10            to $50             to $100              to $500          to $1 billion      $1 billion
                                                                           million           million            million              million
       Estimated Liabilities (on a Consolidated Basis)


       $0 to           $50,001 to        $100,001 to      $500,001 to      $1,000,001        $10,000,001        $50,000,001          $100,000,001     $500,000,001       More than
       $50,000         $100,000          $500,000         $1 million       to $10            to $50             to $100              to $500          to $1 billion      $1 billion
                                                                           million           million            million              million



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(Official Form 1) (1/08)
                                                                              Pg 2 of 24                                                                                                           FORM B1, Page 2
 Voluntary Petition                                                                                    Name of Debtor(s):
 (This page must be completed and filed in every case)                                                 GENERAL MOTORS CORPORATION
                                                    All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                             Case Number:                                                                   Date Filed:
 Where Filed:          N/A                                                                            N/A                                                                            N/A
 Location                                                                                             Case Number:                                                                   Date Filed:
 Where Filed:          N/A                                                                            N/A                                                                            N/A
                                  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of                                                                                              Case Number:                                                                   Date Filed:
 Debtor:               Chevrolet-Saturn of Harlem, Inc.                                               As filed                                                                       June 1, 2009
 District:                                                                                            Relationship:                                                                  Judge:
 Southern District of New York                                                                        Wholly-Owned Direct Subsidiary of                                              Undetermined
                                                                                                      General Motors Corporation
                                              Exhibit A                                                                                             Exhibit B
                                                                                                                                       (To be completed if debtor is an individual
                                                                                                                                       whose debts are primarily consumer debts.)
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and 10Q)
 with the Securities and Exchange Commission pursuant to Section 13 or 15(d) of the                   I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
 Securities Exchange Act of 1934 and is requesting relief under chapter 11.)                          the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                                      States Code, and have explained the relief available under each such chapter. I further certify
                                                                                                      that I have delivered to the debtor the notice required by § 342(b).


                                                                                                         X
        Exhibit A is attached and made a part of this petition.                                              Signature of Attorney for Debtor(s)                                        Date

                                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                               Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

               Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

               Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                      Information Regarding the Debtor - Venue
                                                                               (Check any applicable box.)

                        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                        preceding the date of this petition or for a longer part of such 180 days than in any other District.]

                        There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
                        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District, or
                        the interests of the parties will be served in regard to the relief sought in this District.


                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                               (Check all applicable boxes)

                        Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)

                                                                                   (Name of landlord that obtained judgment)



                                                                                   (Address of landlord)


                        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
                        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and


                        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
                        petition.


                        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).




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 Voluntary Petition                                                                                                Name of Debtor(s):
 (This page must be completed and filed in every case)                                                             GENERAL MOTORS CORPORATION

                                                                                                            Signatures
                            Signature(s) of Debtor(s) (Individual/Joint)                                                                       Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is true and                        I declare under penalty of perjury that the information provided in this petition is
 correct.                                                                                                             true and correct, that I am the foreign representative of a debtor in a foreign
 [If petitioner is an individual whose debts are primarily consumer debts and has chosen to                           proceeding, and that I am authorized to file this petition.
 file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12 or 13 of title
 11, United States Code, understand the relief available under each such chapter, and
 choose to proceed under chapter 7.                                                                                   (Check only one box.)
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I have
 obtained and read the notice required by 11 U.S.C. § 342(b).                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                                               Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 I request relief in accordance with the chapter of title 11, United States Code, specified in
 this petition.                                                                                                                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of title
                                                                                                                               11 specified in this petition. A certified copy of the order granting recognition of
                                                                                                                               the foreign main proceeding is attached.

 X
     Signature of Debtor                                                                                          X
                                                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor
                                                                                                                      (Printed Name of Foreign Representative)

     Telephone Number (if not represented by attorney)
                                                                                                                      Date

     Date



                                       Signature of Attorney*                                                                   Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                                                   I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11
                                                                                                                   U.S.C. § 110; (2) I prepared this document for compensation and have provided the debtor with
 X   /s/ Stephen Karotkin                                                                                          a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
     Signature of Attorney for Debtor(s)                                                                           110(h), and 342(b); and (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C.
                                                                                                                   § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                                   have given the debtor notice of the maximum amount before preparing any document for filing
     Stephen Karotkin                                                                                              for a debtor or accepting any fee from the debtor, as required in that section. Official Form 19B
     Printed Name of Attorney for Debtor(s)                                                                        is attached.
     Weil, Gotshal & Manges LLP                                                                                    _________________________________________________________
     Firm Name                                                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                                   __________________________________________________________
     767 Fifth Avenue                                                                                              Social-Security number (If the bankruptcy petition preparer is not an individual, state the
     Address                                                                                                       Social-Security number of the officer, principal, responsible person or partner of the bankruptcy
     New York, New York 10153                                                                                      petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                                   __________________________________________
                                                                                                                   Address
     (212) 310-8000                                                                                                __________________________________________
     Telephone Number                                                                                             x __________________________________________
     June 1, 2009                                                                                                  __________________________________________
 * In a case in which § 707(b)(4)(D) applies, this signature also constitutes a certification that the attorney    Date
 has no knowledge after an inquiry that the information in the schedules is incorrect.
                                                                                                                   Signature of bankruptcy petition preparer or officer, principal, responsible person, or partner
                                                                                                                   whose Social-Security number is provided above.
                     Signature of Debtor (Corporation/Partnership)
                                                                                                                   Names and Social-Security numbers of all other individuals who prepared or assisted in
 I declare under penalty of perjury that the information provided in this petition is true and                     preparing this document unless the bankruptcy petition preparer is not an individual:
 correct, and that I have been authorized to file this petition on behalf of the debtor.
                                                                                                                   If more than one person prepared this document, attach additional sheets conforming to the
 The debtor requests the relief in accordance with the chapter of title 11, United States
                                                                                                                   appropriate official form for each person.
 Code, specified in this petition.
                                                                                                                   A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and the
                                                                                                                   Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C.
 X   /s/ Frederick A. Henderson                                                                                    § 110; 18 U.S.C. § 156.
     Signature of Authorized Individual


     Frederick A. Henderson
     Printed Name of Authorized Individual

     President and Chief Executive Officer
     Title of Authorized Individual

     June 1, 2009
     Date




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                                                      Schedule 1

                          All Other Names Used By the Debtor in the Last 8 Years

     1.   GMC Truck Division
     2.   NAO Fleet Operations
     3.   GM Corporation
     4.   GM Corporation-GM Auction Department
     5.   National Car Rental
     6.   National Car Sales
     7.   Automotive Market Research




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
In re                                                        :
                                                             :           Chapter 11 Case No.
                                                             :
GENERAL MOTORS CORPORATION,                                  :           09- ________ (            )
                                                             :
                                                             :
                           Debtor.                           :
-------------------------------------------------------------x

                               CONSOLIDATED LIST OF CREDITORS
                             HOLDING 50 LARGEST UNSECURED CLAIMS1

                 Following is the consolidated list of the creditors of General Motors Corporation
and its affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in
possession (collectively, the “Debtors”), holding the 50 largest noncontingent unsecured claims
as of May 31, 2009.

                Except as set forth above, this list has been prepared in accordance with Rule
1007(d) of the Federal Rules of Bankruptcy Procedure and Rule 1007-1 of the Local Rules of
Bankruptcy Procedure. This list does not include persons who come within the definition of
“insider” set forth in section 101(31) of chapter 11 of title 11 of the United States Code.




1
  The information herein shall not constitute an admission of liability by, nor is it binding on, the Debtors. All
claims are subject to customary offsets, rebates, discounts, reconciliations, credits, and adjustments, which are not
reflected on this Schedule.



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                                      Name, telephone number and          Nature of
                                        complete mailing address,        claim (trade      Indicate if claim
                                                                                                                Amount of claim
   Name of creditor and                   including zip code, of          debt, bank        is contingent,
                                                                                                                 [if secured also
 complete mailing address                  employee, agent, or               loan,          unliquidated,
                                                                                                                  state value of
    including zip code                   department of creditor          government          disputed or
                                                                                                                     security]
                                      familiar with claim who may       contract, etc.)    subject to setoff
                                               be contacted
1.   Wilmington Trust                 Attn: Geoffrey J. Lewis            Bond Debt                              $22,759,871,9121
     Company
                                      Phone: (302) 636-6438
                                      Fax: (302) 636-4145


Rodney Square North                   Rodney Square North
1100 North Market Street              1100 North Market Street
Wilmington, DE 19890                  Wilmington, DE 19890
United States                         United States
2. International Union,               Attn: Ron Gettlefinger             Employee                               $20,560,000,0002
    United Automobile,                                                   Obligations
    Aerospace and                     Phone: (313) 926-5201
    Agricultural Implement            Fax: (313) 331-4957
    Workers of America
    (UAW)


8000 East Jefferson                   8000 East Jefferson
Detroit, MI 48214                     Detroit, MI 48214
United States                         United States
3. Deutsche Bank AG,                  Attn: Stuart Harding               Bond Debt                               $4,444,050,0003
    London As Fiscal Agent
                                      Phone:(44) 207 547 3533
                                      Fax: (44) 207 547 6149


Theodor-Heuss-Allee 70                Winchester House
Frankfurt, 60262                      1 Great Winchester Street
Germany                               London EC2N 2DB
                                      England




     1
             This amount consolidates Wilmington Trust Company’s claims as indenture trustee under the indentures,
     dated December 7, 1995 ($21,435,281,912) and November 15, 1990 ($1,324,590,000).
     2
              This liability is estimated as the net present value at a 9% discount rate of future contributions, as of
     January 1, 2009, and excludes approximately $9.4 billion corresponding to the GM Internal VEBA.
     3
               The amount includes outstanding bond debt of $4,444,050,000, based on the Eurodollar exchange rates of
     $1.39.



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                                      Name, telephone number and            Nature of
                                        complete mailing address,          claim (trade     Indicate if claim
                                                                                                                Amount of claim
   Name of creditor and                   including zip code, of            debt, bank       is contingent,
                                                                                                                 [if secured also
 complete mailing address                  employee, agent, or                 loan,         unliquidated,
                                                                                                                  state value of
    including zip code                   department of creditor            government         disputed or
                                                                                                                     security]
                                      familiar with claim who may         contract, etc.)   subject to setoff
                                               be contacted
4.   International Union of           Attn: Mr. James Clark                Employee                             $2,668,600,0004
     Electronic, Electrical,                                               Obligations
     Salaried, Machine and            Phone: (937) 294-9764
     Furniture Workers –              Fax: (937) 298-633
     Communications
     Workers of America
     (IUE-CWA)


3461 Office Park Drive                2701 Dryden Road
Kettering, OH 45439                   Dayton, OH 45439
United States                         United States
5. Bank of New York                   Attn: Gregory Kinder                 Bond Debt                             $175,976,800
    Mellon
                                      Phone: (212) 815-2576
                                      Fax: (212) 815-5595


                                      Global Corporate Trust, 101
One Wall Street                       Barclay, 7W
New York, NY 10286                    New York, NY 10286
United States                         United States
6. Starcom Mediavest                  Attn: Laura Desmond                  Trade Debt                            $121,543,017
    Group, Inc.
                                      Phone: (312) 220-3550
                                      Fax: (312) 220-6530


35 W. Wacker Drive                    35 W. Wacker Drive
Chicago, IL 60601                     Chicago, IL 60601
United States                         United States
7. Delphi Corp.                       Attn: Rodney O'Neal                  Trade Debt                            $110,876,324

                                      Phone: (248) 813-2557
                                      Fax: (248) 813-2560


5725 Delphi Drive                     5725 Delphi Drive
Troy, MI 48098                        Troy, MI 48098
United States                         United States




     4
               This liability estimated as the net present value at a 9% discount rate.



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                                      Name, telephone number and           Nature of
                                        complete mailing address,         claim (trade     Indicate if claim
                                                                                                               Amount of claim
   Name of creditor and                   including zip code, of           debt, bank       is contingent,
                                                                                                                [if secured also
 complete mailing address                  employee, agent, or                loan,         unliquidated,
                                                                                                                 state value of
    including zip code                   department of creditor           government         disputed or
                                                                                                                    security]
                                      familiar with claim who may        contract, etc.)   subject to setoff
                                               be contacted
8.   Robert Bosch GmbH                Attn: Franz Fehrenbach              Trade Debt                             $66,245,958


                                      Phone: (49 71) 1 811-6220
                                      Fax: (49 71) 1 811-6454


38000 Hills Tech Drive                Robert-Bosch-Platz 1 / 70839
Farmington Hills, MI 48331            Gerlingen-Schillerhoehe,
United States                         Germany
9. Lear Corp.                         Attn: Robert Rossiter               Trade Debt                             $44,813,396

                                      Phone: (248) 447-1505
                                      Fax: (248) 447-1524


21557 Telegraph Road                  21557 Telegraph Road
Southfield, MI 48033                  Southfield, MI 48033
United States                         United States
10. Renco Group, Inc.                 Attn: Lon Offenbacher               Trade Debt                             $37,332,506

                                      Phone: (248) 655-8920
                                      Fax: (248) 655-8903


1 Rockefeller Plaza,                  1401 Crooks Road
29th Floor                            Troy, MI 48084
New York, NY 10020                    United States
United States
11. Enterprise Rent A Car             Attn: Greg Stubblefiled             Trade Debt                             $33,095,987


                                      Phone: (314) 512 3226
                                      Fax: (314) 512 4230


6929 N Lakewood Ave                   600 Corporate Park Drive
Suite 100                             St. Louis, MO 63105
Tulsa, OK 74117                       United States
United States




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                                     Name, telephone number and          Nature of
                                       complete mailing address,        claim (trade     Indicate if claim
                                                                                                             Amount of claim
   Name of creditor and                  including zip code, of          debt, bank       is contingent,
                                                                                                              [if secured also
 complete mailing address                 employee, agent, or               loan,         unliquidated,
                                                                                                               state value of
    including zip code                  department of creditor          government         disputed or
                                                                                                                  security]
                                     familiar with claim who may       contract, etc.)   subject to setoff
                                              be contacted
12. Johnson Controls, Inc.           Attn: Stephen A. Roell             Trade Debt                             $32,830,356


                                     Phone: (414)-524-2223
                                     Fax: (414)-524-3000


5757 N. Green Bay Avenue             5757 N. Green Bay Avenue
Glendale, WI 53209                   Milwaukee, WI 53201
United States                        United States
13. Denso Corp.                      Attn: Haruya Maruyama              Trade Debt                             $29,229,047


                                     Phone: (248) 350-7500
                                     Fax: (248) 213-2474


24777 Denso Drive                    24777 Denso Drive
Southfield, MI 48086                 Southfield, MI 48086
United States                        United States
14. TRW Automotive                   Attn: John Plant                   Trade Debt                             $27,516,189
    Holdings, Corp.

                                     Phone: (734) 855-2660
                                     Fax: (734) 855-2473


12025 Tech Center Dr.                12001 Tech Center Drive
Livonia, MI 48150                    Livonia, MI 48150
United States                        United States
15. Magna International, Inc.        Attn: Don Walker                   Trade Debt                             $26,745,489

                                     Phone: (905) 726-7040
                                     Fax: (905) 726-2593


337 Magna Drive                      337 Magna Drive
Aurora, ON L4G 7K1                   Aurora, ON L4G 7K1
Canada                               Canada
16. American Axle & Mfg              Attn: Richard Dauch                Trade Debt                             $26,735,957
    Holdings, Inc.
                                     Phone: (313) 758-4213
                                     Fax: (313) 758-4212


One Dauch Drive                      One Dauch Drive
Detroit, MI 48211-1198               Detroit, MI 48211
United States                        United States


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                                     Name, telephone number and          Nature of
                                       complete mailing address,        claim (trade     Indicate if claim
                                                                                                             Amount of claim
   Name of creditor and                  including zip code, of          debt, bank       is contingent,
                                                                                                              [if secured also
 complete mailing address                 employee, agent, or               loan,         unliquidated,
                                                                                                               state value of
    including zip code                  department of creditor          government         disputed or
                                                                                                                  security]
                                     familiar with claim who may       contract, etc.)   subject to setoff
                                              be contacted
17. Maritz Inc.                      Attn: Steve Maritz                 Trade Debt                             $25,649,158

                                     Phone: (636) 827-4700
                                     Fax: (636) 827-2089


1375 North Highway Drive             1375 North Highway Drive
Fenton, MO 63099                     Fenton, MO 63099
United States                        United States
18. Publicis Groupe S.A.             Attn: Maurice Levy                 Trade Debt                             $25,282,766

                                     Phone: (33 01) 4 443-7000
                                     Fax: (33 01) 4 443-7550


133 Ave des Champs Elysees           133 Ave des Champs-Elysees
Paris, 75008                         Paris, 75008
France                               France
19. Hewlett Packard Co.              Attn: Mike Nefkens                 Trade Debt                             $17,012,332

                                     Phone: (313) 230 6800
                                     Fax: (313) 230 5705


3000 Hanover Street                  500 Renaissance Center,
Palo Alto, CA 94304                  MC:20A Detroit, MI 48243
United States                        United States
20. Interpublic Group of             Attn: Michael Roth                 Trade Debt                             $15,998,270
    Companies, Inc.
                                     Phone: (212) 704-1446
                                     Fax: (212) 704.2270


1114 Avenue of the Americas          1114 Avenue of the Americas
New York, NY 10036                   New York, NY 10036
United States                        United States
21. Continental AG                   Attn: Karl-Thomas                  Trade Debt                             $15,539,456

                                     Phone: 49-69-7603-2888
                                     Fax: 49-69-7603-3800


Vahrenwalder Str. 9                  Guerickestrasse 7, 60488
D-30165 Hanover,                     Frankfurt 60488
Germany                              Germany




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                                     Name, telephone number and          Nature of
                                       complete mailing address,        claim (trade     Indicate if claim
                                                                                                             Amount of claim
   Name of creditor and                  including zip code, of          debt, bank       is contingent,
                                                                                                              [if secured also
 complete mailing address                 employee, agent, or               loan,         unliquidated,
                                                                                                               state value of
    including zip code                  department of creditor          government         disputed or
                                                                                                                  security]
                                     familiar with claim who may       contract, etc.)   subject to setoff
                                              be contacted
22. Tenneco Inc.                     Attn: Gregg Sherrill               Trade Debt                             $14,837,427

                                     Phone: (847) 482-5010
                                     Fax: (847) 482-5030


500 North Field Drive                500 North Field Drive
Lake Forest, IL 60045                Lake Forest, IL 60045
United States                        United States
23. Yazaki Corp.                     Attn: George Perry                 Trade Debt                             $13,726,367

                                     Phone: (734) 983-5186
                                     Fax: (734) 983-5197


6801 Haggerty Road                   6801 Haggerty Road, 48E
Canton, MI 48187                     Canton, MI 48187
United States                        United States
24. International Automotive         Attn: James Kamsickas              Trade Debt                             $12,083,279
    Components
                                     Phone: (313) 253-5208
                                     Fax: (313) 240-3270


5300 Auto Club Drive                 5300 Auto Club Drive
Dearborn, MI 48126                   Dearborn, MI 48126
United States                        United States
25. Avis Rental Car                  Attn: Robert Salerno               Trade Debt                             $12,040,768

                                     Phone: (973) 496-3514
                                     Fax: (212) 413-1924


6 Sylvan Way                         6 Sylvan Way
Parsippany, NJ 07054                 Parsippany, NJ 07054
United States                        United States
26. FMR Corp.                        Attn: Robert J. Chersi             Trade Debt                             $11,980,946

                                     Phone: (617)563-6611
                                     Fax: (617) 598-9449


82 Devonshire St                     82 Devonshire St
Boston, MA 02109                     Boston, MA 02109
United States                        United States




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                                     Name, telephone number and          Nature of
                                       complete mailing address,        claim (trade     Indicate if claim
                                                                                                             Amount of claim
   Name of creditor and                  including zip code, of          debt, bank       is contingent,
                                                                                                              [if secured also
 complete mailing address                 employee, agent, or               loan,         unliquidated,
                                                                                                               state value of
    including zip code                  department of creditor          government         disputed or
                                                                                                                  security]
                                     familiar with claim who may       contract, etc.)   subject to setoff
                                              be contacted
27. AT&T Corp.                       Attn: Richard G. Lindner           Trade Debt                             $10,726,376

                                     Phone: (214) 757-3202
                                     Fax: (214) 746-2102


208 South Akard Street               208 South Akard Street
Dallas, TX 75202                     Dallas, TX 75202
United States                        United States
28. Union Pacific Corp.              Attn: Robert M. Knight, Jr.        Trade Debt                             $10,620,928

                                     Phone: (402) 544-3295
                                     Fax: (402) 501-2121


1400 Douglas Street                  1400 Douglas Street
Omaha, NE 68179                      Omaha, NE 68179
United States                        United States
29. Warburg E M Pincus &             Attn: Joseph P. Landy              Trade Debt                             $10,054,189
    Co., Inc.
                                     Phone: (212) 878-0600
                                     Fax: (212) 878-9351


466 Lexington Ave                    466 Lexington Ave
New York, NY 10017                   New York, NY 10017
United States                        United States
30. Visteon Corp.                    Attn: Donald J. Stebbins           Trade Debt                              $9,841,774

                                     Phone: (734) 710-7400
                                     Fax: (734) 710-7402


One Village Center Drive             One Village Center Drive
Van Buren Township,                  Van Buren Twp., MI 48111
MI 48111                             United States
United States
31. US Steel                         Attn: John Surma                   Trade Debt                              $9,587,431

                                     Phone: (412) 433-1146
                                     Fax: (412) 433-1109


600 Grant Street Room 1344           600 Grant Street
Pittsburgh, PA 15219                 Room 1344
United States                        Pittsburgh, PA 15219
                                     United States



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                                     Name, telephone number and           Nature of
                                       complete mailing address,         claim (trade     Indicate if claim
                                                                                                              Amount of claim
   Name of creditor and                  including zip code, of           debt, bank       is contingent,
                                                                                                               [if secured also
 complete mailing address                 employee, agent, or                loan,         unliquidated,
                                                                                                                state value of
    including zip code                  department of creditor           government         disputed or
                                                                                                                   security]
                                     familiar with claim who may        contract, etc.)   subject to setoff
                                              be contacted
32. Arcelor Mittal                   Attn: Lakshmi Mittal                Trade Debt                              $9,549,212

                                     Phone: 44 20 7543 1131
                                     Fax: (44 20) 7 629-7993


19, Avenue De La Liberte             Berkley Square House, 7th
Luxembourg, L-2930                   Floor Berkley Square House
Luxembourg                           London, England W1J6DA
33. AK Steel Holding, Corp.          Attn: Jim Wainscott                 Trade Debt                              $9,116,371

                                     Phone: (513) 425-5412
                                     Fax: (513) 425-5815


9227 Centre Pointe Drive             9227 Centre Pointe Drive
Westchester, OH 45069                Westchester, OH 45069
United States                        United States
34. CSX Corp.                        Attn: Oscar Muñoz                   Trade Debt                              $8,884,846


                                     Phone: (904) 359-1329
                                     Fax: (904) 359-1859


500 Water Street, 15th Floor         500 Water Street, 15th Floor
Jacksonville, FL 32202               Jacksonville, FL 32202
United States                        United States
35. Hertz Corporation                Attn: .Elyse Douglas                Trade Debt                              $8,710,291

                                     Phone: (201) 450-2292
                                     Fax: (866) 444-4763


14501 Hertz Quail Springs            225 Brae Boulevard Park
Parkway                              Ridge, NJ 07656
Oklahoma City, OK 73134              United States
United States




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                                     Name, telephone number and            Nature of
                                       complete mailing address,          claim (trade     Indicate if claim
                                                                                                               Amount of claim
   Name of creditor and                  including zip code, of            debt, bank       is contingent,
                                                                                                                [if secured also
 complete mailing address                 employee, agent, or                 loan,         unliquidated,
                                                                                                                 state value of
    including zip code                  department of creditor            government         disputed or
                                                                                                                    security]
                                     familiar with claim who may         contract, etc.)   subject to setoff
                                              be contacted
36. Alpha S.A. de C.V.               Attn: Manuel Rivera                  Trade Debt                              $8,209,133

                                     Phone: (52 81) 8 748 1264
                                     Fax: (52 81) 8 748-1254


Ave. Gómez Morín No. 1111            Ave. Gómez Morín No. 1111
Sur Col. Carrizalejo                 Sur Col. Carrizalejo
San Pedro Garza García, N.           San Pedro Garza García, N. L.
L. C.P. 66254                        C.P. 66254
Mexico                               Mexico
37. Voith AG                         Attn: Hubert Lienhard                Trade Debt                              $7,146,187

                                     Phone: 49 7321 372301


2200 N. Roemer Rd                    St. Poltener Strasse 43
Appleton, WI                         Heidenheim, D-89522
United States                        Germany
38. Goodyear Tire & Rubber           Attn: Robert Keegan                  Trade Debt                              $6,807,312
    Co.
                                     Phone: (330) 796-1145
                                     Fax: (330) 796-2108


1144 E Market St                     1144 East Market Street
Akron, OH 44316-0001                 Akron, OH 44316-0001
United States                        United States
39. Manufacturers                    Attn: Greg M. Gruizenga              Trade Debt                              $6,695,777
    Equipment & Supply Co.

                                     Phone: (800) 373-2173
                                     Fax: (810) 239-5360


2401 Lapeer Rd                       2401 Lapeer Rd
Flint, MI 48503-4350                 Flint, MI 48503
United States                        United States
40. Severstal O A O                  Attn: Gregory Mason                  Trade Debt                              $6,687,993

                                     Phone: (313) 317-1243
                                     Fax: (313) 337-9373


4661 Rotunda Drive                   14661 Rotunda Drive,
P.O. Box 1699                        P.O. Box 1699
Dearborn, MI 48120                   Dearborn, MI 48120
United States                        United States


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                                     Name, telephone number and          Nature of
                                       complete mailing address,        claim (trade     Indicate if claim
                                                                                                             Amount of claim
   Name of creditor and                  including zip code, of          debt, bank       is contingent,
                                                                                                              [if secured also
 complete mailing address                 employee, agent, or               loan,         unliquidated,
                                                                                                               state value of
    including zip code                  department of creditor          government         disputed or
                                                                                                                  security]
                                     familiar with claim who may       contract, etc.)   subject to setoff
                                              be contacted
41. Exxon Mobil Corp.                Attn: James P. Hennessy               Trade Debt                           $6,248,959

                                     Phone: (703) 846-7340
                                     Fax: (703) 846-6903


5959 Las Colinas Boulevard           3225 Gallows Road
Irving, TX 75039                     Fairfax, VA 22037
United States                        United States
42. Hitachi Ltd.                     Attn: Yasuhiko Honda                  Trade Debt                           $6,168,651

                                     Phone: (81 34) 564-5549
                                     Fax: (81 34) 564-3415


955 Warwick Road                     Akihabara Daibiru Building 18-
P.O. Box 510                         13, Soto-Kanda, 1-Chome
Harrodsburg, KY 40330                Chiyoda-Ku, Tokyo, 101-8608
United States                        Japan
43. Mando Corp.                      Attn: Zung Su Byun                    Trade Debt                           $5,459,945

                                     Phone: (82 31) 680-6114
                                     Fax: (82 31) 681-6921


4201 Northpark Drive                 343-1, Manho-Ri ,Poseung-
Opelika, AL 36801                    Myon, Pyongtaek Kyonggi,
United States                        South Korea, Korea
44. General Physics Corp.            Attn: Sharon Esposito Mayer           Trade Debt                           $5,208,070

                                     Phone: (410) 379-3600
                                     Fax: (410) 540-5302


1500 W. Big Beaver Rd.               6095 Marshalee Drive, St. 300
Troy, MI 48084                       Elkridge, MD 21075
United States                        United States
45. Sun Capital Partners,            Attn: Mr. Kevin                       Trade Debt                           $4,747,353
    Inc.
                                     Phone: (561) 948-7514
                                     Fax: (561) 394-0540


5200 Town Center Circle,             5200 Town Center Circle, Suite
Suite 600                            600 Boca Raton, FL 33486
Boca Raton, FL 33486                 United States
United States



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                                     Name, telephone number and        Nature of
                                       complete mailing address,      claim (trade     Indicate if claim
                                                                                                           Amount of claim
   Name of creditor and                  including zip code, of        debt, bank       is contingent,
                                                                                                            [if secured also
 complete mailing address                 employee, agent, or             loan,         unliquidated,
                                                                                                             state value of
    including zip code                  department of creditor        government         disputed or
                                                                                                                security]
                                     familiar with claim who may     contract, etc.)   subject to setoff
                                              be contacted
46. Jones Lang Lasalle, Inc.         Attn: Colin Dyer                    Trade Debt                           $4,651,141

                                     Phone: (312) 228-2004
                                     Fax: (312) 601-1000


                                     200 East Randolph Drive
200 East Randolph Drive              Chicago, IL 60601
Chicago, IL 60601                    United States
United States
47. McCann Erickson                  Attn: Gary Lee                      Trade Debt                           $4,603,457

                                     Phone: (646) 865 2606
                                     Fax: (646) 865 8694


238 11 Avenue, SE                    622 3rd Avenue
Calgary, Alberta T2G OX8             New York, NY 10017
Canada                               United States
48. Flex-N-Gate Corp.                Attn: Shahid Khan                   Trade Debt                           $4,490,775

                                     Phone: (217) 278-2618
                                     Fax: (217) 278-2318


1306 East University Ave.            1306 East University
Urbana, IL 61802                     Urbana, IL 61802
United States                        United States
49. Bridgestone Corp.                Attn: Shoshi Arakawa                Trade Debt                           $4,422,763

                                     Phone: (81 33) 567 0111
                                     Fax: (81 33) 567 9816


535 Marriott Drive                   10-1 Kyobashi 1-chome Chuo-
Nashville, TN 37214                  ku, Tokyo, Japan 104
United States                        Japan
 50. Cap Gemini America Inc.         Attn: Thierry Delaporte  $4,415,936
                                                                      Trade Debt                              $4,415,936

                                     Phone: (212) 314-8327
                                     Fax: (212) 314-8018

623 Fifth Avenue, 33rd Floor         623 Fifth Avenue, 33rd Floor
New York, NY 10022                   New York, NY 10022
United States                        United States




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DECLARATION UNDER PENALTY OF PERJURY:

               I, the undersigned authorized officer of the corporation named as Debtor in this
case, declare under penalty of perjury that I have reviewed the foregoing Consolidated List of
Creditors Holding the 50 Largest Unsecured Claims and that the list is true and correct to the
best of my information and belief.
Dated: June 1, 2009
                                                              /s/ Frederick A. Henderson
                                                              Signature
                                                              NAME: Frederick A. Henderson


                                                              TITLE: President and Chief Executive Officer




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :            Chapter 11 Case No.
                                                               :
GENERAL MOTORS CORPORATION,                                    :            09-_____ (___)
                                                               :
                                    Debtor.                    :
                                                               :
---------------------------------------------------------------x

                                 EXHIBIT “A” TO VOLUNTARY PETITION
          1. The debtor’s securities are registered under Section 12 of the Securities and Exchange
             Act of 1934, and the SEC file number is 1-143.

          2. The following financial data is the latest available information and refers to the
             debtor’s condition on March 31, 2009.

          a.         Total assets on a consolidated basis:           $82,290,000,000


          b.         Total debts on a consolidated basis (including debts listed in 2.c., below):
                                                                   $172,810,000,000

                                                                                         Approximate
                                                                                         number of
                                                                                         holders.
          c.         Debt securities held by more than 500 holders.
                     secured          unsecured      subordinated
                                                                     $21,694,000,0001    Greater than 500
                     secured          unsecured      subordinated
                                                                      $3,221,000,0002    Greater than 500
                     secured          unsecured      subordinated
                                                                      $1,388,000,0003    Greater than 500


          d.         Number of shares of preferred stock:            6,000,000 shares authorized; no
                     shares issued and outstanding.

1
    Issued pursuant to Senior Indenture, dated as of December 7, 1995.
2
    Issued pursuant to Senior Indenture, dated as of July 3, 2003.
3
    Issued pursuant to Senior Indenture, dated as of November 15, 1990.



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          e.         Number of shares of common stock:          2,000,000,000 shares authorized,
                     800,937,541 shares issued, and 610,505,273 shares outstanding, all as of March
                     31, 2009.

          3. Brief description of debtor’s business: The debtor, together with its affiliates, is
             engaged in the manufacturing, marketing, and distribution of cars and trucks
             worldwide.


          4. List the names of any person who directly or indirectly owns, controls, or holds, with
             power to vote, 5% or more of the voting securities of debtor:    State Street Bank
             and Trust Company (17.0%)




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        APPROVAL OF BANKRUPTCY FILING, 363 SALE AND RELATED MATTERS

        WHEREAS, at this meeting and at prior meetings, the Board of Directors (the
“Board”) of General Motors Corporation (the “Corporation”) has extensively reviewed the
alternatives available to the Corporation and its direct and indirect subsidiaries Saturn, LLC,
Saturn Distribution Corporation and Chevrolet-Saturn of Harlem, Inc. (the “Filing
Subsidiaries”) and has determined that the commencement of a Chapter 11 case in the
United States by each of the Corporation and the Filing Subsidiaries presents the only
opportunity for preserving and maximizing the value of the enterprise for the benefit of the
Corporation’s stakeholders and other interested parties;

COMMENCEMENT OF BANKRUPTCY CASES

      RESOLVED, that the Corporation and each of the Filing Subsidiaries be, and it
hereby is, authorized and directed to file a petition seeking relief under the provisions of
Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”);

        RESOLVED, that each of the Proper Officers (it being understood that, for the
purposes of these resolutions, the “Proper Officers” shall include, without limitation, the
President and Chief Executive Officer, any vice president of the Corporation (including
executive or group vice presidents), the Controller and Chief Accounting Officer, the
Secretary, any Assistant Secretary, the Treasurer, any Assistant Treasurer and any other
officer of the Corporation determined by the Legal Staff of the Corporation to be an
appropriate officer with respect to the action taken) is hereby authorized and directed, in the
name and on behalf of the Corporation, to execute, verify, and file all petitions under
Chapter 11 of the Bankruptcy Code and to cause the same to be filed in the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”) at such time
as such Proper Officer shall determine;

         RESOLVED, that in connection with the commencement of the Chapter 11 case by
the Corporation, each Proper Officer is hereby authorized, in the name and on behalf of, the
Corporation, to negotiate, execute, and deliver such notes, security and other agreements,
and instruments as such Proper Officer considers appropriate to enable the Corporation to
utilize cash collateral on the terms and conditions such Proper Officer or Proper Officers
executing the same may consider necessary, proper, or desirable, and to consummate the
transactions contemplated by such notes, security and other agreements and instruments
on behalf of the Corporation, subject to Bankruptcy Court approval;

         RESOLVED, that each Proper Officer is hereby authorized and directed, in the name
and on behalf of the Corporation, to cause the Corporation to enter into, execute, deliver,
certify, file and/or record, negotiate, and perform, any and all petitions, schedules, lists,
motions, certifications, agreements, instruments, affidavits, applications, including without
limitation, applications for approvals or rulings of governmental or regulatory authorities, or
other documents and to take such other actions, as in the judgment of such Proper Officer
shall be or become necessary, proper, or desirable in connection with the Corporation’s
Chapter 11 case;

       RESOLVED, that the Board sees no objection to each of the Filing Subsidiaries
taking any and all action, including authorizing a filing in the Bankruptcy Court, and to
executing and delivering all documents, agreements, motions and pleadings as are



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necessary, proper, or desirable to enable such Filing Subsidiary to carry out the filing in
Bankruptcy Court contemplated hereby;

       RESOLVED, that the Board sees no objection to a filing by GMCL, if determined to
be appropriate by the Board of Directors of GMCL, for protection from its creditors under the
Companies’ Creditors Arrangement Act (the “CCAA”) or to any actions taken by GMCL as
are necessary, proper, or desirable to enable GMCL to carry out such filing;

EXECUTION OF MASTER SALE AND PURCHASE AGREEMENT

       RESOLVED, that the Board finds that the sale of substantially all of the assets of the
Corporation to Auto Acquisition Corp., a new entity formed by the United States Department
of the Treasury, in accordance with the Purchase Agreement (as defined below), is
expedient and in the best interests of the Corporation;

       RESOLVED, that the form, terms and provisions of the proposed Master Sale and
Purchase Agreement (the “Purchase Agreement”) by and among the Corporation, the Filing
Subsidiaries and Vehicle Acquisition Holdings LLC., in substantially the form reviewed by
the Board, are hereby approved, and the sale of substantially all of the assets of the
Corporation set forth in the Purchase Agreement on the terms set forth in the Purchase
Agreement be, and hereby is, authorized and approved;

        RESOLVED, that each of the Proper Officers, or any of them, is hereby authorized
and directed to execute and deliver the Purchase Agreement, with such changes therein or
revisions thereto as the Proper Officer or Officers executing and delivering the same may in
his or their sole and absolute discretion approve consistent with these Resolutions and with
the advice of the Corporation’s Legal Staff, and to cause the Corporation to carry out the
terms and provisions thereof;

       RESOLVED, that each of the Proper Officers, or any of them, is hereby authorized
and directed to approve, execute and deliver from time to time such amendments, changes
or modifications to the Purchase Agreement as any such Proper Officer shall, consistent
with these Resolutions and with the advice of the Corporation’s Legal Staff, deem
necessary, proper or advisable;

        RESOLVED, that if the Corporation determines no later than the due date (including
any extensions) of the Corporation’s tax return for the taxable year in which the sale
contemplated by the Purchase Agreement is closed that an Agreed G Transaction (as
defined in the Purchase Agreement) has occurred, (i) the Purchase Agreement will be
deemed to constitute a “plan” of the Corporation for purposes of Sections 368 and 354 of
the Internal Revenue Code of 1986, as amended (the “Tax Code”), and (ii) the Corporation
shall treat the transactions contemplated in the Purchase Agreement, in combination with
the subsequent liquidation of the Corporation and the Filing Subsidiaries (as defined in the
Purchase Agreement), as a tax-free reorganization pursuant to Section 368(a)(1)(G) of the
Tax Code (with any actual or deemed distribution by the Corporation qualifying solely under
Sections 354 and 356 of the Tax Code but not under Section 355 of the Tax Code);

EXECUTION OF LOAN FACILITIES – U.S. AND CANADA

      RESOLVED, that in connection with the commencement of the Chapter 11 case by
the Corporation, each of the Proper Officers, or any of them, is hereby authorized to


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negotiate, execute, deliver and cause the Corporation to perform its obligations under (i) a
secured superpriority debtor–in-possession credit agreement (the “Credit Agreement”),
among the Corporation, a debtor and debtor in possession under Chapter 11 of the
Bankruptcy Code, as borrower, certain subsidiaries of the Corporation listed therein, as
guarantors, the United States Department of the Treasury, as lender, and Export
Development Canada, as lender, substantially in the form and on the terms and conditions
presented to the Board; (ii) one or more notes (“Notes”) providing for loans under the Credit
Agreement in an aggregate principal amount not to exceed $65 billion plus the principal
amount of any Additional Notes (as defined in the Credit Agreement), in each case together
with interest thereon at the rate specified in the Credit Agreement and (iii) the other
agreements contemplated by the Credit Agreement, including pledge agreements, security
agreements, mortgages, financing statements and any other similar documents in
connection with granting a security interest in or a pledge of the Corporation’s assets as
collateral to secure the Obligations (as defined in the Credit Agreement) and any other
agreements or documents (the documents described in this clause (iii) collectively described
herein as the “Other Financing Documents”), as any Proper Officer determines is necessary,
proper, or desirable to consummate the transactions contemplated by the Credit Agreement
and the Other Financing Documents, in each case consistent with these Resolutions and
the advice of the Corporation’s Legal Staff, as evidenced by the execution thereof by the
Proper Officer;

       RESOLVED, that each of the Proper Officers, or any of them, is hereby authorized to
grant a security interest in and pledge assets as collateral under the Guaranty and Security
Agreement, the Equity Pledge Agreement and each Other Financing Document to which the
Corporation is party;

        RESOLVED, that the Board sees no objection to the issuance by all or any of the
direct or indirect subsidiaries of the Corporation of guarantees of the Obligations and the
granting of a security interest in or the pledge of any assets by such subsidiaries as
collateral to secure the Obligations by entering into the Guaranty and Security Agreement
and the Equity Pledge Agreement, in each case substantially in the form reviewed by the
Board, together with the Other Financing Documents to which such subsidiary is party;

        RESOLVED, that the Board sees no objection (a) to the execution and delivery by
GMCL of an amended and restated loan agreement with Export Development Canada
(“EDC”) as lender (the “Canadian Credit Agreement”) amending the loan agreement
between GMCL and EDC, among other parties, dated as of April 29, 2009 (the “April EDC
Credit Agreement”) or (b) to the provision of secured guaranties of certain obligations of
GMCL under the Canadian Credit Agreement to be given by 1908 Holdings Limited,
Parkwood Holdings Limited, and GM Overseas Funding LLC, each of which is a direct or
indirect subsidiary of GMCL;




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        RESOLVED, that the Corporation’s guarantee of certain obligations of GMCL under
the Canadian Credit Agreement secured by the pledge of some or all of its ownership
interest in GMCL is approved on terms to be approved by the CFO, which may include the
Corporation’s participation in the Canadian Credit Agreement as a borrower, consistent with
the advice of the Corporation’s Legal Staff;

        RESOLVED, that the Corporation’s guarantee of GMCL’s obligations under the April
EDC Credit Agreement as approved at the meeting of the Board on April 24, 2009 will
continue to be valid, binding and enforceable until the effectiveness of the Canadian Credit
Agreement, and in connection with the foregoing, the Proper Officers, or any Proper Officer,
is authorized to execute and deliver a Confirmation and Acknowledgment (the
“Acknowledgment”) stating that the April EDC Credit Agreement may be modified or
supplemented by EDC and GMCL without the Corporation’s participation;

       RESOLVED, that the Proper Officers, or any Proper Officer, is hereby authorized to
execute and deliver the guaranty and any other agreements or documents to which the
Corporation is a party or to take any other actions that he determines are necessary,
appropriate or advisable to consummate the transactions contemplated by the Canadian
Credit Agreement;

GENERAL AUTHORIZATION AND RATIFICATION

       RESOLVED, that each Proper Officer is authorized and directed, consistent with
these Resolutions and with the advice of the Corporation’s Legal Staff: (i) to negotiate,
execute, deliver, certify, file and/or record, and perform, any and all of the agreements,
documents, and instruments referenced herein, and such other agreements, documents,
and instruments and assignments thereof as may be required or as such Proper Officer
deems appropriate or advisable, or to cause the negotiation, execution, and delivery thereof,
as the case may be, in such form and substance as such Proper Officer may approve,
together with such changes and amendments to any of the terms and conditions thereof as
such Proper Officer may approve, (ii) to negotiate, execute, deliver, certify, file and/or
record, and perform any agreements, documents, certificates, consents, filings, and
applications relating to the Resolutions adopted and matters ratified or approved herein and
the transactions contemplated thereby, and amendments and supplements to any of the
foregoing, and to take such other action as may be required or as such Proper Officer
deems appropriate or advisable in connection therewith, and (iii) to do such other things as
may be required, or as may in such Proper Officer’s judgment be necessary, proper, or
desirable, to carry out the intent and effectuate the purposes of the Resolutions adopted and
matters ratified or approved herein and the consummation of the transactions contemplated
hereby; and

        RESOLVED, that all actions taken by the Proper Officers, or any of them, prior to the
date of the foregoing Resolutions adopted at this meeting and within the authority conferred,
are hereby ratified, confirmed, approved in all respects as the act and deed of the
Corporation.


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